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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
   Case No.        2:15-cv-02562-R-PLA                                            Date    10-03-2019
   Title           Dolores Press, Inc. v. Patrick Robinson, et al.




   Present: The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                Christine Chung                             Not Reported                            N/A
                 Deputy Clerk                         Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiff:                        Attorneys Present for Defendant:
                          Not Present                                             Not Present
   Proceedings:               (IN CHAMBERS) Order re: Defendants’ Motion for Clarification of
                              Order Consolidating Cases (DE 74)

        On August 13, 2019, this Court ordered consolidation of the following cases: 2:15-cv-02562-R-
PLA, 2:15-cv-02857-R-PLA, 5:16-cv-00333-R-PLA, 2:16-cv-01275-R-PLA, 5:18-cv-02219-R-PLA,
2:18-cv-09077-R-PLA. (DE 73). The Court has not imposed a deadline for Defendants to respond to the
operative complaints. Accordingly, Defendants filed the present Motion for Clarification of Order
Consolidating Cases, in which Defendants request clarification regarding the deadline to respond to the
complaints, and additionally request that they be permitted to seek partial dismissal of the complaints or
that Plaintiffs be required to amend the complaints based on, among other things, the recent decision of
the Supreme Court in Fourth Estate Pub. Ben. Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881 (2019).

        In Fourth Estate, the Court held that “registration occurs, and a copyright claimant may
commence an infringement suit, when the Copyright Office registers a copyright.” Id. at 886-87. In each
of the four operative complaints and/or subsequent filings, Plaintiffs refer to “pending copyright
registration applications.” Under Fourth Estate, Plaintiffs do not have standing at this time to assert
copyright infringement claims for works where the applications remain pending. Thus, amendment of
the complaints is proper prior to Defendants providing responsive pleadings. Contrary to Defendants’
suggestion, however, Fourth Estate does not require that Plaintiffs’ complaints must be accompanied by
valid certificates of registration in order to meet the pleading requirements of Tombly and Iqbal.
Therefore, the Court denies Defendants’ requests to dismiss or amend the complaints on that basis and
all other bases which were raised in prior motions to dismiss or which could have been previously raised
prior to the Ninth Circuit’s order remanding the cases to this Court.
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
   Case No.     2:15-cv-02562-R-PLA                                           Date   10-03-2019
   Title        Dolores Press, Inc. v. Patrick Robinson, et al.

       For the foregoing reasons, the Court GRANTS IN PART AND DENIES IN PART
Defendants’ Motion for Clarification of Order Consolidating Cases. (DE 74). Plaintiffs shall file
amended complaints complying with the Supreme Court’s holding in Fourth Estate Pub. Ben. Corp. v.
Wall-Street.com, LLC, 139 S. Ct. 881 (2019), or alternatively shall dismiss their complaints, no later
than October 11, 2019. Defendants shall file Answers or other responsive pleadings to the amended
complaints no later than October 25, 2019. Defendants’ Motion is otherwise DENIED.

           IT IS SO ORDERED.


                                                   Initials of Deputy Clerk             CCH




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